    Case
MIE (Rev. 9/09)2:20-cv-11262-MOB-APP                       ECF
               Order Regarding Reassignment of Companion Case - Civil No.   3 filed 05/26/20     PageID.143       Page 1 of 1



                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF MICHIGAN

GROUP 1 AUTOMOTIVE INC., et al.,


                      Plaintiff(s),                                           Case No. 20-11262

v.                                                                            Honorable Mark A. Goldsmith

BROSE SCHLIESYSTEME GMBH & CO.                                                Magistrate Judge Anthony P. Patti
KOMMANDITGESELLSCHAFT, et al.,

                      Defendant(s).
                                                                     /

                               ORDER REGARDING REASSIGNMENT OF COMPANION CASE

         This case appears to be a companion case to Case No.           12-md-02311    . Pursuant to E.D. Mich LR
83.11, the Clerk is directed to reassign this case to the docket of the Honorable Marianne O. Battani
and Magistrate Judge                                      .


                                                                              s/Mark A. Goldsmith
                                                                              Mark A. Goldsmith
                                                                              United States District Judge

                                                                              s/Marianne O. Battani
                                                                              Marianne O. Battani
                                                                              United States District Judge




           Pursuant to this order, case assignment credit will be given to the appropriate Judicial Officers.
           Case type: CIVIL

        If the District Judge assigned to the companion case is located at another place of holding court, the office
code will be changed accordingly.


Date: May 26, 2020                                                            s/ S Schoenherr
                                                                              Deputy Clerk

cc:     Parties and/or counsel of record
        Honorable Marianne O. Battani
